    Case 21-04059        Doc 46      Filed 08/30/21 Entered 08/30/21 11:50:21                   Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

    In re                                            §        Chapter 11
                                                     §
    SPHERATURE INVESTMENTS LLC,                      §        Case No. 20-42492
    et al., 1                                        §
                                                     §        Jointly Administered
             Debtors.                                §

    SPHERATURE INVESTMENTS, LLC, §                            Adversary No. 21-04059
    et al. d/b/a WORLDVENTURES   §
    HOLDINGS, LLC,               §
                                 §
             Plaintiffs          §
                                 §
    vs.                          §
                                 §
    SEACRET DIRECT LLC,          §
                                 §
             Defendant.          §

                              NOTICE OF SERVICE OF DISCOVERY

            PLEASE TAKE NOTICE that on August 30, 2021, Seacret Direct LLC served the

attached Subpoena upon Wayne Nugent through counsel.

DATED: August 30, 2021.



                                                           Respectfully submitted,

                                                            By:      /s/ Annmarie Chiarello
                                                                  Phillip Lamberson
                                                                  Texas Bar No. 0079413
                                                                  plamberson@winstead.com
                                                                  Stephen R. Clarke
                                                                  Texas Bar No. 24069517
                                                                  sclarke@winstead.com
1
  The "Debtors" and the "Plaintiffs" in the above-captioned cases are: Spherature Investments LLC ("Spherature")
EIN#5471; Rovia, LLC ("Rovia") EIN#7705; WorldVentures Marketing Holdings, LLC ("WV Marketing Holdings")
EIN#3846; WorldVentures Marketplace, LLC ("WV Marketplace") EIN#6264; WorldVentures Marketing, LLC
("WV Marketing") EIN#3255; WorldVentures Services, LLC ("WV Services") EIN#2220.

NOTICE OF SERVICE OF DISCOVERY                                                                PAGE 1 OF 2
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                                                           Annmarie Chiarello
                                                           Texas Bar No. 24097496
                                                           achiarello@winstead.com
                                                           WINSTEAD PC
                                                           500 Winstead Building
                                                           2728 N. Harwood Street
                                                           Dallas, Texas 75201
                                                           (214) 745-5400 (Telephone)
                                                           (214) 745-5390 (Facsimile)

                                                           ATTORNEYS FOR
                                                           SEACRET DIRECT LLC




                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2021, notice of this document was electronically mailed
to the parties registered or otherwise entitled to receive electronic notices in this case pursuant to
the Electronic Filing Procedures in this District.

                                                      /s/ Annmarie Chiarello
                                                      One of Counsel




NOTICE OF SERVICE OF DISCOVERY                                                        PAGE 2 OF 2
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                               Document     Page 3 of 8
                                       UNITED STATES BANKRUPTCY COURT
  _________________________________________
               Eastern                                   Texas , Sherman Division
                                            District of _________________________________________
         SPHERATURE INVESTMENTS LLC,
In re ____________
               ______________________________
         et al.,
                                     Debtor
                                                                                               20-42492
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
SPHERATURE INVESTMENTS, LLC,
                                                                                               11
                                                                                     Chapter ___________
et al. d/b/a WORLDVENTURES
_________________________________________
HOLDINGS, LLC,          Plaintiff
                           v.                                                                        21-04059
                                                                                     Adv. Proc. No. ________________
 SEACRET     DIRECT LLC
__________________________________________
                                   Defendant

                                        SUBPOENA TO TESTIFY AT A DEPOSITION
                                 IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To:    Wayne Nugent c/o Norton Rose Fulbright US LLP 2200 Ross Avenue Suite 3600 Dallas, Texas
        ________________________________________________________________________________________
         75201-7932                     (Name of person to whom the subpoena is directed)

   X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:

  PLACE                                                                                                        DATE AND TIME
  Norton Rose Fulbright US LLP- 2200 Ross Avenue, Suite 360, Dallas,                                            September 17, 2021 at 1:00 PM (CST)
  Texas 75201-7932
  The deposition will be recorded by this method:
  via Court Reporter, as further described by the attached.
      Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: _08/30/2021 ___
         _________
                                    CLERK OF COURT

                                                                                     OR
                                    ________________________                                 /s/ Phillip Lamberson
                                                                                             ________________________
                                    Signature of Clerk or Deputy Clerk                             Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
    Seacret Direct, LLC                 , who issues or requests this subpoena, are:
   Phillip Lamberson WINSTEAD PC 500 Winstead Building 2728 N. Harwood Street Dallas, Texas 75201
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)
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                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                   ________________________________________________
                                                                                                                  Server’s signature

                                                                                   ________________________________________________
                                                                                                                Printed name and title


                                                                                   ________________________________________________
                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:
                Case 21-04059                 Doc 46          Filed 08/30/21 Entered 08/30/21 11:50:21                              Desc Main
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION
In re                                              §        Chapter 11
                                                   §
SPHERATURE INVESTMENTS LLC,                        §        Case No. 20-42492
et al., 1                                          §
                                                   §        Jointly Administered
        Debtors.                                   §

SPHERATURE INVESTMENTS, LLC, §                              Adversary No. 21-04059
et al. d/b/a WORLDVENTURES   §
HOLDINGS, LLC,               §
                             §
         Plaintiffs          §
                             §
vs.                          §
                             §
SEACRET DIRECT LLC,          §
                             §
         Defendant.          §
                AMENDED NOTICE OF DEPOSITION OF WAYNE NUGENT

To:     Wayne Nugent, through his attorneys of record, Norton Rose Fulbright US LLP, 2200
        Ross Avenue, Suite 3600 Dallas, Texas 75201-7932.

        PLEASE TAKE NOTICE Seacret Direct LLC intends to take the oral deposition of Wayne

Nugent the deposition will at Norton Rose Fulbright US LLP, 2200 Ross Avenue, Suite 3600

Dallas, Texas 75201-7932 on September 17, 2021 at 1:00 p.m. (Prevailing Central Time),

before a certified court reporter, or such other date and time or process as agreed by the parties.

The testimony will be recorded by audio, audiovisual, or stenographic means and will be taken by

a court reporter duly authorized by law to administer oaths and take depositions. The deposition

will continue thereafter as necessary until completed.



1
 The "Debtors" and the "Plaintiffs" in the above-captioned cases are: Spherature Investments LLC (" Spherature")
EIN#5471; Rovia, LLC ("Rovia") EIN#7705; WorldVentures Marketing Holdings, LLC(" WVMarketing Holdings")
EIN#3846; WorldVentures Marketplace, LLC (" WV Marketplace") EIN#6264; WorldVentures Marketing, LLC
("WVMarketing") EIN#3255; WorldVentures Services, LLC ("WVServices") EIN#2220.


AMENDED DEPOSITION NOTICE-                                                                             PAGE 1
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     DATED: August 27, 2021.


                                          Respectfully submitted,

                                          By:      /s/ Annmarie Chiarello
                                          Phillip Lamberson
                                          Texas Bar No. 0079413
                                          plamberson@winstead.com
                                          Stephen R. Clarke
                                          Texas Bar No. 24069517
                                          sclarke@winstead.com
                                          Annmarie Chiarello
                                          Texas Bar No. 24097496
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                                          WINSTEAD PC
                                          500 Winstead Building
                                          2728 N. Harwood Street
                                          Dallas, Texas 75201
                                          (214) 745-5400 (Telephone)
                                          (214) 745-5390 (Facsimile)

                                          ATTORNEYS FOR SEACRET DIRECT
                                          LLC




AMENDED DEPOSITION NOTICE-                                                      PAGE 2
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                               CERTIFICATE OF SERVICE

      I hereby certify that on August 30, 2021, notice of this document was electronically mailed to
  the parties listed below.

     Wayne Nugent
     c/o Norton Rose Fulbright US LLP
     ryan.manns@nortonrosefulbright.com

     Spherature Investments LLC et al.
     c/o Foley & Lardner LLP
     Attn: Steven C. Lockhart
     slockhart@gardere.com

     Spherature Investments LLC et al.
     c/o McDermott Will & Emery LLP
     Attn: Marcus Helt
     mhelt@mwe.com


                                                    /s/ Annmarie Chiarello
                                                    One of Counsel




AMENDED DEPOSITION NOTICE-                                                                  PAGE 3
